                                               Case 17-10124                    Doc 359             Filed 10/09/21                Page 1 of 8

                                                                Form 1
                                            Individual Estate Property Record and Report                                                                                  Page: 1-1

                                                             Asset Cases
Case No.:     17-10124                                                                                    Trustee Name:      (530270) James Lanik
Case Name:         SLANE MARINE, INC.                                                                     Date Filed (f) or Converted (c):        02/01/2017 (c)
                                                                                                          § 341(a) Meeting Date:           02/27/2017
For Period Ending:           09/30/2021                                                                   Claims Bar Date:        09/16/2018

                                   1                               2                     3                     4              5                     6                7            8

                        Asset Description                       Petition/        Estimated Net Value        Property      Sale/Funds           Asset Fully       Lien Amount    Exempt
             (Scheduled And Unscheduled (u) Property)         Unscheduled       (Value Determined By        Formally    Received by the     Administered (FA)/                  Amount
                                                                 Values                Trustee,            Abandoned        Estate           Gross Value of
                                                                                     Less Liens,           OA=§554(a)                       Remaining Assets
                                                                                     Exemptions,            abandon.
  Ref. #                                                                          and Other Costs)

    1       Account at BB&T Checking, xxxxxx8084                       480.58                   480.58                            170.28                   FA            0.00         0.00


    2       Account at BB&T Escrow, xxxxxx8726                          65.62                    65.62                             65.62                   FA            0.00         0.00


    3       Piedmont Natural Gas for Dorris Ave.                       411.00                   411.00                              0.00                   FA            0.00         0.00


    4       A/R 90 days old or less. Face amount = $1400.          1,400.00                    1,400.00                             0.00                   FA            0.00         0.00
            Doubtful/Uncollectible accounts = $0.

    5       A/R 90 days old or less. Face amount = $21.52.              21.52                    21.52                              0.00                   FA            0.00         0.00
            Doubtful/Uncollectible accounts = $0.

    6       A/R 90 days old or less. Face amount =                       0.00                      0.00                             0.00                   FA            0.00         0.00
            $480.38. Doubtful/Uncollectible accounts =
            $480.38.

    7       A/R Over 90 days old. Face amount =                          0.00                      0.00                             0.00                   FA            0.00         0.00
            $226030.43.Doubtful/Uncollectible accounts =
            $226030.43.

    8       A/R Over 90 days old. Face amount =                          0.00                      0.00                             0.00                   FA            0.00         0.00
            $15701.91.Doubtful/Uncollectible accounts =
            $15701.91.

    9       A/R Over 90 days old. Face amount =                          0.00                      0.00                             0.00                   FA            0.00         0.00
            $4204.74.Doubtful/Uncollectible accounts =

   10       A/R Over 90 days old. Face amount =                          0.00                      0.00                             0.00                   FA            0.00         0.00
            $3359.36.Doubtful/Uncollectible accounts = $0.

   11       A/R Over 90 days old. Face amount =                          0.00                      0.00                             0.00                   FA            0.00         0.00
            $269.11.Doubtful/Uncollectible accounts =

   12       A/R Over 90 days old. Face amount =                          0.00                      0.00                             0.00                   FA            0.00         0.00
            $209.09.Doubtful/Uncollectible accounts =

   13       A/R Over 90 days old. Face amount =                        240.83                   240.83                              0.00                   FA            0.00         0.00
            $240.83.Doubtful/Uncollectible accounts = $0.

   14       A/R Over 90 days old. Face amount =                          0.00                      0.00                             0.00                   FA            0.00         0.00
            $74729.51.Doubtful/Uncollectible accounts =
            $74729.51.

   15       A/R Over 90 days old. Face amount =                        139.72                   139.72                              0.00                   FA            0.00         0.00
            $139.72.Doubtful/Uncollectible accounts = $0.

   16       Raw Materials: Misc. Inventory, , Net Book            41,021.21                   41,021.21                             0.00                   FA            0.00         0.00
            Value: , Valuation Method:

   17       Work in progress: Work in progress, , Net Book        48,182.92                   48,182.92                             0.00                   FA            0.00         0.00
            Value: , Valuation Method:

   18       Finished goods: 2 sets @ 43/45 vents 1 set @           8,550.00                    8,550.00                             0.00                   FA            0.00         0.00
            old 45 vents, 10/20/2016, Net Book Value: ,
            Valuation Method: Comparable sale

   19       Office furniture. Valuation Method: Recent cost        7,319.50                    7,319.50                             0.00                   FA            0.00         0.00


   20       Computers and software. Valuation Method:              2,764.00                    2,764.00                             0.00                   FA            0.00         0.00


   21       Dixie trailer DXE 1579 SF484 1984 SuperSkier           5,000.00                    5,000.00                             0.00                   FA            0.00         0.00
            1NSBM15AXE1000463. Valuation Method:
            Recent cost

   22       62 yacht molds. Valuation Method: Recent cost        575,316.86                  575,316.86                       69,700.00                    FA            0.00         0.00

            Order approving private sale of boat molds to
            Matthews Specialty Vehicles entered on
            10/17/19, Doc #246.
                                                Case 17-10124                  Doc 359             Filed 10/09/21                Page 2 of 8

                                                                Form 1
                                            Individual Estate Property Record and Report                                                                                 Page: 1-2

                                                             Asset Cases
Case No.:     17-10124                                                                                   Trustee Name:      (530270) James Lanik
Case Name:         SLANE MARINE, INC.                                                                    Date Filed (f) or Converted (c):       02/01/2017 (c)
                                                                                                         § 341(a) Meeting Date:          02/27/2017
For Period Ending:           09/30/2021                                                                  Claims Bar Date:        09/16/2018

                                    1                              2                    3                     4              5                    6                7             8

                        Asset Description                       Petition/       Estimated Net Value        Property      Sale/Funds          Asset Fully       Lien Amount     Exempt
             (Scheduled And Unscheduled (u) Property)         Unscheduled      (Value Determined By        Formally    Received by the    Administered (FA)/                   Amount
                                                                 Values               Trustee,            Abandoned        Estate          Gross Value of
                                                                                    Less Liens,           OA=§554(a)                      Remaining Assets
                                                                                    Exemptions,            abandon.
  Ref. #                                                                         and Other Costs)

   23       New Build for sale - unfinished 62' yacht.          1,125,592.79            1,125,592.79                        135,300.00                   FA             0.00          0.00
            Valuation Method: Recent cost
            Order approving private sale of 62' unfinished
            yacht to Matthews Specialty Vehicles entered on
            10/17/19, Doc #246.

   24       Vacsystem, Time clock, Chopper Gun,                   13,063.21                  13,063.21                             0.00                  FA             0.00          0.00
            Computers. Valuation Method: Recent cost

   25       Boat designs?. Valuation Method:                            0.00                      0.00                             0.00                  FA             0.00          0.00


   26       slanemarine.com slane62.com. Valuation                      0.00                      0.00                             0.00                  FA             0.00          0.00
            Method:

   27       Net operating losses, Tax Year 2014                  747,175.00                 747,175.00                             0.00                  FA             0.00          0.00


   28       Alex Chervinsky Coast Guard Lein against 36,         226,030.43                 226,030.43                             0.00                  FA             0.00          0.00
            lien. Amount Requested: $226030.43

   29*      Transferred Funds from Chap 11 (u)                      5,230.97                  5,230.97                         5,230.97                  FA             0.00          0.00

            Transferred Funds from Chap 11 (See Footnote)

   30       Iron Horse Auction Proceeds                                 0.00                      0.00                       57,927.20                   FA             0.00          0.00


                                                               $2,808,006.16          $2,808,006.16                        $268,394.07                 $0.00           $0.00         $0.00
  30        Assets Totals (Excluding unknown values)


         RE PROP# 29            Transferred Funds from Chap 11




Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

                                   15th QSR. Case converted to Chapter 11 on 4/17/18. Case converted back to Chapter 7 on 4/15/19. Final
                                   report and final fee apps forwarded to BA's office for review.

                                   Bank account opened.


Initial Projected Date Of Final Report (TFR): 12/31/2017                                 Current Projected Date Of Final Report (TFR):                  10/31/2021


                        10/09/2021                                                                            /s/James Lanik
                             Date                                                                            James Lanik


Copy Served On: Mr. William P. Miller
                Bankruptcy Administrator
                                            Case 17-10124             Doc 359              Filed 10/09/21        Page 3 of 8

                                                                 Form 2
                                                                                                                                                      Page: 2-1
                                                 Cash Receipts And Disbursements Record
Case No.:              17-10124                                           Trustee Name:                    James Lanik (530270)
Case Name:             SLANE MARINE, INC.                                 Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***0848                                         Account #:                       ******1500 Checking
For Period Ending:     09/30/2021                                         Blanket Bond (per case limit):   $2,500,000.00
                                                                          Separate Bond (if applicable):   N/A

    1            2                      3                                         4                              5                      6                     7

  Trans.    Check or       Paid To / Received From            Description of Transaction       Uniform       Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                           Tran. Code       $                        $

 03/15/17     {1}      BB&T                               Bank Acct Close Out Funds            1129-002              170.28                                       170.28
 03/15/17     {2}      BB&T                               Bank Acct Close Out Funds            1129-002                65.62                                      235.90
 03/31/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                225.90
                                                          Fees
 04/28/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                215.90
                                                          Fees
 05/31/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                205.90
                                                          Fees
 06/30/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                195.90
                                                          Fees
 07/31/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                185.90
                                                          Fees
 08/31/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                175.90
                                                          Fees
 09/29/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                165.90
                                                          Fees
 10/31/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                155.90
                                                          Fees
 11/30/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                145.90
                                                          Fees
 12/29/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                135.90
                                                          Fees
 01/31/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                125.90
                                                          Fees
 02/28/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                115.90
                                                          Fees
 03/30/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                105.90
                                                          Fees
 04/30/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                 95.90
                                                          Fees
 05/31/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      10.00                 85.90
                                                          Fees
 08/21/18     101      James C. Lanik, Chapter 11         Transfer of funds from Chapter 7     2990-000                                      85.90                    0.00
                       Trustee                            bank account to Chapter 11 bank
                                                          account. Per BA and Trustee on
                                                          8/21/18.

                                            COLUMN TOTALS                                                             235.90                 235.90                $0.00
                                                   Less: Bank Transfers/CDs                                             0.00                   0.00
                                            Subtotal                                                                  235.90                 235.90
                                                   Less: Payments to Debtors                                                                   0.00

                                            NET Receipts / Disbursements                                             $235.90                $235.90




{ } Asset Reference(s)                                                                                                         ! - transaction has not been cleared
                                             Case 17-10124            Doc 359              Filed 10/09/21           Page 4 of 8

                                                                 Form 2
                                                                                                                                                          Page: 2-2
                                                 Cash Receipts And Disbursements Record
Case No.:              17-10124                                           Trustee Name:                       James Lanik (530270)
Case Name:             SLANE MARINE, INC.                                 Bank Name:                          Metropolitan Commercial Bank
Taxpayer ID #:         **-***0848                                         Account #:                          ******0327 Checking
For Period Ending:     09/30/2021                                         Blanket Bond (per case limit):      $2,500,000.00
                                                                          Separate Bond (if applicable):      N/A

    1            2                       3                                        4                                  5                       6                    7

  Trans.    Check or        Paid To / Received From          Description of Transaction          Uniform        Deposit                Disbursement        Account Balance
   Date      Ref. #                                                                             Tran. Code        $                          $

 04/23/19     {29}     James C Lanik                     Transferred Chap 11 Funds              1290-000                 5,230.97                                      5,230.97
 04/29/19     701      City of High Point                Account #55286, Billing date           2420-000                                         206.99                5,023.98
                                                         4/5/19
 04/29/19     702      Piedmont Natural Gas Co           Account #*********5003, Billing        2420-000                                          68.23                4,955.75
                                                         Date of 4/10/19
 04/29/19     703      U.S. Bankruptcy Court Clerk       Payment of Chapter 11 1st Quarter      2700-000                                         325.00                4,630.75
                                                         2019 Fees - Filed on April 22,
                                                         2019, Doc #219
 05/20/19     704      Piedmont Natural Gas Co           Account #*********5003, Billing        2420-000                                          25.90                4,604.85
                                                         Date of 5/09/19
 05/20/19     705      City of High Point                Account #55286, Billing date           2420-000                                         231.74                4,373.11
                                                         5/10/19
 06/24/19     706      City of High Point                Account #55286, Billing date           2420-000                                         225.55                4,147.56
                                                         6/19/19
 08/03/19     707      City of High Point                Account #55286, Billing date           2420-000                                         225.55                3,922.01
                                                         7/12/19
 09/18/19     708      City of High Point                Account #55286, Billing date           2420-000                                         451.10                3,470.91
                                                         9/09/19 - 2 months
 10/21/19     709      City of High Point                Account #55286, Billing date           2420-000                                         275.63                3,195.28
                                                         10/09/19
 10/28/19              Matthews Specialty Vehicles       Wire payment for private sale of                           205,000.00                                    208,195.28
                                                         partially completed 62' boat and all
                                                         boat molds. Order approving sale
                                                         entered October 17, 2019, Doc
                                                         #246.
              {22}                                       Order approving sale of BOAT           1129-000
                                                         MOLDS 10/17/19, Doc #246
                                                                                  $69,700.00
              {23}                                       Order approving sale of 62'            1129-000
                                                         YACHT 10/17/19, Doc #246
                                                                                 $135,300.00
 12/02/19     710      City of High Point                Account #55286, Billing date           2420-000                                         245.63           207,949.65
                                                         11/08/19
 12/19/19     711      2100 East MLK Drive, LLC          Settlement of storage claim            2420-000                                     25,000.00            182,949.65
                                                         approved by order 12/19/19, Doc
                                                         #275
 12/27/19     712      City of High Point                Account #55286, Billing date           2420-000                                         245.63           182,704.02
                                                         12/09/19
 01/24/20     713      City of High Point                Account #55286, Billing date           2420-000                                         227.41           182,476.61
                                                         1/09/2020
 01/29/20     714      Alex Chervinsky                   Settlement payment per order           7200-000                                     75,000.00            107,476.61
                                                         entered 1/20/2020 Doc #296.
 01/30/20     715      Marine Tooling Technology, Inc.   Payment of Claim #2 - Secured          4110-000                                     12,133.31                95,343.30
                                                         Claim for Boat Storage - Order
                                                         directing payment 1/30/2020, Doc
                                                         #299
 02/13/20     716      City of High Point                Account #55286, Billing date           2420-000                                         254.15               95,089.15
                                                         2/10/2020
 02/19/20     717      Piedmont Natural Gas Co           Account #*********5003, Billing        2420-000                                         277.34               94,811.81
                                                         Date of 2/11/20
 03/06/20     718      International Sureties, Ltd.      Payment for Bond #016036434,           2300-000                                          61.14               94,750.67
                                                         James Lanik Trustee, 3/1/20 to
                                                         3/1/21
 03/24/20     {30}     Iron Horse Auction Co, Inc        Tax Return 2019: Fed.                  1129-000             57,927.20                                    152,677.87



                                                                                            Page Subtotals:    $268,158.17               $115,480.30


{ } Asset Reference(s)                                                                                                              ! - transaction has not been cleared
                                            Case 17-10124              Doc 359              Filed 10/09/21           Page 5 of 8

                                                                Form 2
                                                                                                                                                        Page: 2-3
                                                Cash Receipts And Disbursements Record
Case No.:              17-10124                                            Trustee Name:                       James Lanik (530270)
Case Name:             SLANE MARINE, INC.                                  Bank Name:                          Metropolitan Commercial Bank
Taxpayer ID #:         **-***0848                                          Account #:                          ******0327 Checking
For Period Ending:     09/30/2021                                          Blanket Bond (per case limit):      $2,500,000.00
                                                                           Separate Bond (if applicable):      N/A

    1            2                      3                                          4                                 5                    6                     7

  Trans.    Check or       Paid To / Received From            Description of Transaction         Uniform         Deposit            Disbursement         Account Balance
   Date      Ref. #                                                                             Tran. Code         $                      $

 03/31/20              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                      97.37            152,580.50
                                                          Fees
 04/23/20     719      City of High Point                 Account #55286, Billing date           2420-004                                     394.06            152,186.44
                                                          3/10/2020 & 4/7/2020
                                                          Voided on 04/29/2020
 04/29/20     719      City of High Point                 Account #55286, Billing date           2420-004                                     -394.06           152,580.50
                                                          3/10/2020 & 4/7/2020
                                                          Voided: check issued on
                                                          04/23/2020
 04/29/20     720      City of High Point                 Account #55286, Billing date           2420-000                                     394.06            152,186.44
                                                          3/10/2020 & 4/7/2020
 04/30/20              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                     243.87            151,942.57
                                                          Fees
 05/29/20              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                     234.86            151,707.71
                                                          Fees
 06/02/20     721      City of High Point                 Account #55286, Billing date           2420-000                                     233.48            151,474.23
                                                          5/7/2020
 06/02/20     722      Iron Horse Auction Company, Inc.   Invoice dated 3/12/20. Order                                                    10,555.70             140,918.53
                                                          approving entered 6/1/20, Doc
                                                          #308
                       Iron Horse Auction Company, Inc.   Auctioneer FEES, approved              3610-000
                                                          6/1/20, #308
                                                                                   $7,555.70
                       Iron Horse Auction Company, Inc.   Auctioneer EXPENSES, approved          3620-000
                                                          6/1/20, #308
                                                                                   $3,000.00
 06/14/20     723      City of High Point                 Account #55286, Billing date           2420-000                                     190.96            140,727.57
                                                          6/5/2020
 06/14/20     724      Piedmont Natural Gas Co            Account #*********5003, Billing        2420-000                                     263.69            140,463.88
                                                          Date of 5/11/20
 06/30/20              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                     244.17            140,219.71
                                                          Fees
 07/21/20     725      City of High Point                 Account #55286, Billing date           2420-000                                     160.58            140,059.13
                                                          7/8/2020
 07/31/20              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                     231.59            139,827.54
                                                          Fees
 08/18/20     726      City of High Point                 Account #55286, Billing date           2420-000                                     227.41            139,600.13
                                                          8/10/2020
 08/31/20              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                     216.00            139,384.13
                                                          Fees
 09/30/20              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                     237.66            139,146.47
                                                          Fees
 10/06/20     727      Trusteed Services, LLC             Invoice dated 9/30/20. Destruction     2420-000                                     456.00            138,690.47
                                                          of records, approved by order
                                                          8/19/20, Doc #317.
 10/06/20     728      City of High Point                 Account #55286, Billing date           2420-000                                     169.10            138,521.37
                                                          9/08/2020
 10/30/20              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                     222.16            138,299.21
                                                          Fees
 11/13/20     729      Piedmont Natural Gas Co            Account #*********5004 - FINAL         2420-000                                     117.70            138,181.51
                                                          BILL - 646 McWay Drive service
                                                          location
 11/13/20     730      City of High Point                 Account #55286 - 646 McWay             2420-000                                     257.97            137,923.54
                                                          Drive



                                                                                             Page Subtotals:             $0.00         $14,754.33


{ } Asset Reference(s)                                                                                                           ! - transaction has not been cleared
                                            Case 17-10124          Doc 359             Filed 10/09/21             Page 6 of 8

                                                                 Form 2
                                                                                                                                                      Page: 2-4
                                                 Cash Receipts And Disbursements Record
Case No.:              17-10124                                        Trustee Name:                        James Lanik (530270)
Case Name:             SLANE MARINE, INC.                              Bank Name:                           Metropolitan Commercial Bank
Taxpayer ID #:         **-***0848                                      Account #:                           ******0327 Checking
For Period Ending:     09/30/2021                                      Blanket Bond (per case limit):       $2,500,000.00
                                                                       Separate Bond (if applicable):       N/A

    1            2                      3                                      4                                  5                    6                      7

  Trans.    Check or        Paid To / Received From       Description of Transaction          Uniform         Deposit            Disbursement          Account Balance
   Date      Ref. #                                                                          Tran. Code         $                      $

 11/30/20              Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                      213.54            137,710.00
                                                      Fees
 12/08/20     731      City of High Point             Account #55286 - 646 McWay              2420-000                                      255.62            137,454.38
                                                      Drive - FINAL BILL as of 12/2/20
 12/31/20              Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                      241.92            137,212.46
                                                      Fees
 01/29/21              Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                      212.56            136,999.90
                                                      Fees
 02/26/21              Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                      204.93            136,794.97
                                                      Fees
 03/09/21     732      International Sureties, Ltd.   Bond #016036434 - Blanket Bond          2300-000                                       99.01            136,695.96
                                                      3/1/21 thru 3/1/22
 03/31/21              Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                      241.17            136,454.79
                                                      Fees
 04/26/21     733      U.S. Bankruptcy Court Clerk    Chapter 11 Qtrly Fees for April--       2700-000                                      325.00            136,129.79
                                                      June 2019 2nd Qtr - Dkt. 237
 04/30/21              Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                      218.85            135,910.94
                                                      Fees
 05/28/21              Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                      203.58            135,707.36
                                                      Fees
 06/30/21              Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                      239.25            135,468.11
                                                      Fees
 07/22/21     734      Edward P. Bowers               Payment for Accounting                                                               5,032.75           130,435.36
                                                      Fees/Expenses Invoice #0013254-
                                                      IN Dated 11/09/18 - First Chapter 7
                       Edward P. Bowers               Accountant FEES approved                3410-000
                                                      1/22/19, Dkt 190
                                                                               $4,906.00
                       Edward P. Bowers               Accountant EXPENSES approved            3420-000
                                                      1/22/19, Dkt 190
                                                                                   $126.75
 07/22/21     735      Edward P. Bowers               Payment for Accounting                                                                868.78            129,566.58
                                                      Fees/Expenses Invoice #0013238-
                                                      IN Dated 4/25/19 - Chapter 11
                       Edward P. Bowers               Accountant FEES approved                6410-000
                                                      7/21/21, Dkt 351
                                                                                   $820.50
                       Edward P. Bowers               Accountant EXPENSES approved            6420-000
                                                      7/21/21, Dkt 351
                                                                                    $48.28
 07/22/21     736      Edward P. Bowers               Payment for Accounting                                                               3,858.65           125,707.93
                                                      Fees/Expenses Invoice #I-134
                                                      Dated 4/26/21 - Second Chapter 7
                       Edward P. Bowers               Accountant FEES approved                3410-000
                                                      7/21/21, Dkt 353
                                                                               $3,854.45
                       Edward P. Bowers               Accountant EXPENSES approved            3420-000
                                                      7/21/21, Dkt 353
                                                                                     $4.20
 07/30/21              Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                      215.55            125,492.38
                                                      Fees
 08/31/21              Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                      214.53            125,277.85
                                                      Fees

                                                                                          Page Subtotals:             $0.00         $12,645.69


{ } Asset Reference(s)                                                                                                        ! - transaction has not been cleared
                                         Case 17-10124             Doc 359              Filed 10/09/21        Page 7 of 8

                                                              Form 2
                                                                                                                                                 Page: 2-5
                                              Cash Receipts And Disbursements Record
Case No.:              17-10124                                        Trustee Name:                    James Lanik (530270)
Case Name:             SLANE MARINE, INC.                              Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:         **-***0848                                      Account #:                       ******0327 Checking
For Period Ending:     09/30/2021                                      Blanket Bond (per case limit):   $2,500,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                     6                    7

  Trans.    Check or       Paid To / Received From         Description of Transaction       Uniform       Deposit             Disbursement        Account Balance
   Date      Ref. #                                                                        Tran. Code       $                       $


                                         COLUMN TOTALS                                                        268,158.17           142,880.32            $125,277.85
                                                Less: Bank Transfers/CDs                                            0.00                  0.00
                                         Subtotal                                                             268,158.17           142,880.32
                                                Less: Payments to Debtors                                                                 0.00

                                         NET Receipts / Disbursements                                      $268,158.17            $142,880.32




{ } Asset Reference(s)                                                                                                     ! - transaction has not been cleared
                                       Case 17-10124    Doc 359       Filed 10/09/21          Page 8 of 8

                                                       Form 2
                                                                                                                         Page: 2-6
                                       Cash Receipts And Disbursements Record
Case No.:           17-10124                             Trustee Name:                   James Lanik (530270)
Case Name:          SLANE MARINE, INC.                   Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:      **-***0848                           Account #:                      ******0327 Checking
For Period Ending: 09/30/2021                            Blanket Bond (per case limit): $2,500,000.00
                                                         Separate Bond (if applicable): N/A

                                       Net Receipts:      $268,394.07
                            Plus Gross Adjustments:             $0.00
                           Less Payments to Debtor:             $0.00
                 Less Other Noncompensable Items:            $235.90

                                         Net Estate:      $268,158.17




                                                                                               NET                 ACCOUNT
                                 TOTAL - ALL ACCOUNTS                 NET DEPOSITS        DISBURSEMENTS            BALANCES
                                 ******1500 Checking                          $235.90              $235.90                 $0.00

                                 ******0327 Checking                       $268,158.17             $142,880.32          $125,277.85

                                                                           $268,394.07             $143,116.22          $125,277.85




                 10/09/2021                                      /s/James Lanik
                    Date                                         James Lanik
